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                                       UNITED STATES DISTRICT COURT
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                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN FRANCISCO DIVISION
11
      P.M., et al., individually and on behalf of all others       Civil Case No.: 3:23-cv-03199-TLT
12    similarly situated,
13                                                                 ORDER EXTENDING TIME FOR
             Plaintiffs,
                                                                   DEFENDANTS TO RESPOND TO
14                                                                 COMPLAINT
             v.
15                                                                 Judge: The Honorable Trina L. Thompson
      OPENAI LP, et al.
16
             Defendants.
17

18          Pursuant to the Parties’ stipulation, the deadline for Defendants to respond to the complaint is
19   extended to October 11, 2023. The Parties are reminded that the joint Case Management Statement is
20   due by 10/5/2023. The Initial Case Management Conference set for 10/12/2023 at 2pm is hereby
21   maintained.
22          PURSUANT TO STIPULATION, IT IS SO ORDERED.
23

24

25    DATED: August 31, 2023                                   ___________________________________
                                                               Hon. Trina L. Thompson
26                                                             United States District Judge
27

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      ORDER EXTENDING TIME FOR DEFENDANTS TO RESPOND TO                                   Case No. 3:23-cv-03199-TLT
      COMPLAINT
